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                          IN THE UNITED STATES DISTRICT COURT

                                 FOR THE DISTRICT OF IDAHO

 AGRI BEEF CO., an Idaho corporation,              Case No. 1:20-cv-00093

           Plaintiff.                              COMPLAINT

 vs.

 CORRA TECHNOLOGY INC., a New
 Jersey corporation,

           Defendant.


       Plaintiff Agri Beef Co. (“Agri Beef”), by and through its attorneys Holland & Hart LLP,

and for its Complaint against Defendant Corra Technology Inc. (“Corra”), states and alleges as

follows:

                                          INTRODUCTION

       1.         Plaintiff brings this action for breach of contract against Corra, with which Agri

Beef had contracted to provide professional website development services.

                                               PARTIES

       2.         Agri Beef is an Idaho corporation formed under the laws of the State of Idaho,

with its principal place of business in Ada County, Idaho.


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       3.      On information and belief, Defendant Corra is a New Jersey corporation with its

principal place of business located in Essex County, New Jersey.

                                  JURISDICTION AND VENUE

       4.      This court has subject matter jurisdiction over this matter pursuant to 28 U.S.C. §

1332 in that this action is between citizens of different states and the amount in controversy

exceeds seventy-five thousand dollars ($75,000), exclusive of interest and costs.

       5.      Personal jurisdiction over Corra is proper in that Agri Beef and Corra have

transacted business within the State of Idaho and Plaintiff’s claims arise out of Defendants

transaction of business within the State of Idaho.

       6.      Venue is proper under 28 U.S.C. § 1391(a) and (c) because the Plaintiff is a

corporation conducting business within the State of Idaho and a substantial part of the events

giving rise to the claims occurred within this judicial district.

                                       GENERAL ALLEGATIONS

       7.      On September 17, 2019, Agri Beef entered into a Professional Services

Agreement (“PSA”) with Corra for website design services.

       8.      The PSA was signed by Ron Bongo on behalf of Corra and by Clint Cooper on

behalf of Agri Beef.

       9.      Under the PSA, Corra (referred to in the PSA as “Provider”) agreed to update

Agri Beef’s (referred to in the PSA as “Customer”) website to be compatible with the most

recent version of the Magento ecommerce platform.

       10.     Section 2.1 of the PSA states that Corra shall provide services to Agri Beef “in

accordance with the terms and conditions of this Agreement” including “the Services that are




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agreed upon by the Parties from time to time in a statement of work that is made by the Parties

pursuant to this Agreement . . . .”

        11.     Section 3.1.1(b) of the PSA states that Corra shall, with respect to each

“Statement of Work, appoint Provider Personnel, who shall be reasonably skilled, experienced,

and qualified to perform the services . . . .”

        12.     Section 3.1.2 of the PSA states that Corra shall “make reasonable efforts to

maintain the same Provider Project Manager throughout the term of the applicable Statement of

Work . . . .”

        13.     Section 3.1.7 of the PSA states that Corra shall “maintain complete and accurate

records of the time spent and materials used by Provider in providing the Services . . .”

        14.     Section 3.2.3 of the PSA states that Corra shall not charge Agri Beef “for the

costs of training any replacement Project Resource, including the time necessary for a

replacement Project Resource to become familiar with Customer’s account or business.”

        15.     Section 5.2 of the PSA states that “[i]n no event shall any change to the terms of a

Statement of Work be effective unless and until Customer and Provider have approved a change

order in Provider’s project systems . . . and documented such Change Order in a writing signed

by both parties.”

        16.     Section 6 of the PSA states that “[i]n connection with the Services contemplated

under this Agreement . . . Provider shall deliver the Work Product in accordance with the sprint

schedule defined in the applicable Statement of Work . . . .”

        17.     Section 8 of the PSA states in pertinent part that “Customer shall not be

responsible for paying any other fees, costs or expenses, unless otherwise agreed in a Statement

of Work.”



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       18.     Section 8.4 of the PSA states in pertinent part that “[u]nless otherwise set forth in

the applicable Statement of Work, Provider shall issue invoices to Customer only in accordance

with the terms of this Section 8 (Fees and Expenses; Payment Terms) and all invoices must be

reasonably detailed.”

       19.     Section 12.1.8 of the PSA states that Corra “shall perform the Services in a

professional and workmanlike manner, in accordance with general industry standards, and in

conformance with the requirements and description for such services set forth in the applicable

Statement of Work and applicable Law . . . .”

       20.     Section 18.5 of the PSA states that “all legal actions brought under or in

connection with the subject matter of this Agreement shall be governed by the laws of the State

of New York (other than such laws, rules, regulations and case law that would result in the

application of the Laws of a jurisdiction other than those of the State of New York).”

       21.     The PSA does not contain a forum selection clause.

       22.     Pursuant to the PSA, Agri Beef and Corra executed a Statement of Work further

detailing the obligations of the parties under the PSA.

       23.     The Statement of Work was included as Exhibit A to the PSA and is the only

written amendment to the PSA.

       24.     The Statement of Work contains an Estimated Fee of $494,736 as the cost

estimation needed to complete the services under the PSA.

       25.     Section 1.2 of the Statement of Work defines the term “Project Timeline” and

states that “[t]he estimated Project Timeline supersedes all prior discussions verbal or written

between the Parties related to timelines, which will be refined throughout the project.”




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       26.     Early in the project, personnel from Corra and Agri Beef communicated regularly

regarding the status and current cost of the project.

       27.     Initial estimates from Corra placed the project completion and go-live date of

Corra’s services as February 28, 2020.

       28.     Corra’s initial Provider Project Manager for this project was Amanda

Campanella, but by the time Corra started performance, Tarzell Jones was assigned as the

Provider Project Manager.

       29.     Tarzell Jones was removed as Provider Project Manager on or about September

24, 2019 after approximately twenty days in charge of the project.

       30.     During the course of Corra’s performance under the PSA, there have been at least

six different Provider Project Managers, as that term is defined in the PSA, assigned to this

project.

       31.     During the course of Corra’s performance under the PSA, there have also been at

least two temporary or interim groups of Provider Project Managers assigned to this project in

the periods between permanent Provider Project Managers.

       32.     Corra has provided Agri Beef with regular invoices, but those invoices lack

sufficient detail to determine whether Agri Beef has been charged for the additional training and

time necessary for each new Provider Project Manager to get up to speed.

       33.     Corra’s constant Provider Project Manager reassignments led to a breakdown in

communication with Agri Beef and delays in performance under the PSA.

       34.     On or about December 5, 2019, Mark Maser, PMO Manager for Corra, wrote an

email to Agri Beef stating, among other things, that: “[W]e are tracking well towards a 2/28

ready date,” and “Actual Budget Planned as of Sprint 6 was originally $440,760.00. and we are



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currently at $430,992.00.” Included on this email were Ben Marshall and John Childers from

Corra.

         35.   Agri Beef received no further communication from Corra until January 27, 2020 –

nearly two months later – despite Agri Beef’s repeated requests for additional information in the

interim.

         36.   In a January 27, 2020 email, Benjamin Marshall, a Corra employee, sent an email

to Agri Beef stating that the “Projected Budget at Completion” had grown to “$1,071,901”

representing an “Additional Cost to Complete” of “$494,872” over the forecasted amount.

         37.   Corra now estimates that it will fail to meet the project completion and go-live

date of February 28, 2020.

         38.   On or about February 7, 2020, Corra presented to Agri Beef a new proposed

project completion and go-live date of April 27, 2020.

         39.   Corra has not presented to Agri Beef the proposed changes in scope, cost, or

project completion and go-live date in a Change Order, as that term is defined in the PSA.

         40.   As of the filing of this Complaint, Agri Beef has not received from Corra the

completed website as contemplated under the PSA.

                                       FIRST CAUSE OF ACTION
                                           Breach of Contract

         41.   Plaintiff realleges and incorporates by reference all the prior paragraphs of this

Complaint as if set forth in full herein.

         42.   A valid contract exists between Agri Beef and Corra in the form of the PSA.

         43.   Corra breached the PSA by failing to provide reasonably detailed invoices to Agri

Beef as required under the PSA.




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       44.     Corra breached the PSA by failing to make reasonable efforts to maintain the

same Project Manager throughout the term of the PSA.

       45.     Corra breached the PSA by failing to follow the current Statement of Work in the

absence of a written and agreed upon Change Order.

       46.     Corra breached the PSA by failing to perform its services in a professional and

workmanlike manner as set forth in the Statement of Work and other documents governing

performance in this matter.

       47.     Corra’s conduct constitutes a material breach of the PSA.

       48.     As a result of Corra’s breach of the PSA, Agri Beef has experienced damages and

is entitled to monetary damages in an amount to be determined at trial or, in the alternative,

specific performance in the form of Corra’s delivery to Agri Beef of all website source code and

all other deliverables and work product that Corra has developed for Agri Beef to date.

                                   SECOND CAUSE OF ACTION
                   Breach of the Implied Covenant of Good Faith and Fair Dealing

       49.     Plaintiff realleges and incorporates by reference all the prior paragraphs of this

Complaint as if set forth in full herein.

       50.     A valid contract exists between Agri Beef and Corra in the form of the PSA.

       51.     Corra failed to deal with Agri Beef in an honest and forthright manner by failing

to respond to any communications from Agri Beef between approximately December 5, 2019

and January 27, 2020.

       52.     Corra failed to deal with Agri Beef in an honest and forthright manner under the

PSA by failing to timely communicate significant cost overruns in Corra’s performance.




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           53.     Corra failed to deal with Agri Beef in an honest and forthright manner under the

PSA by failing to timely communicate Corra’s inability to meet the February 28, 2020 project

completion and go-live date.

           54.     As a result of Corra’s breach of the implied covenant of good faith and fair

dealing, Agri Beef is entitled to money damages in an amount to be determined at trial or, in the

alternative, specific performance in the form of Corra’s delivery to Agri Beef of all website

source code and all other deliverables and work product that Corra has developed for Agri Beef

to date.

                                             ATTORNEY’S FEES

           Because of Corra’s wrongdoing, Agri Beef has been required to retain the services of

legal counsel, Holland & Hart, LLP to pursue this litigation. Agri Beef is entitled to recover its

reasonable attorney’s fees in pursuit of this litigation from Corra under Idaho Code § 12-120(3)

and pursuant to any other relevant contractual or statutory provisions, including Section 18.7 of

the PSA.

                                       PRAYER FOR RELIEF

           WHEREFORE, Agri Beef respectfully requests the Court enter judgment in its favor and

against Corra on the causes of action of this Complaint as follows:

           A.      Judgment against Corra (i) for all damages sustained because of the allegations

outlined and any further damages, including interest, to which Agri Beef may be entitled by law,

or, in the alternative, (ii) for specific performance in the form of Corra’s delivery to Agri Beef of

all website source code and all other deliverables and work product that Corra has developed for

Agri Beef to date.

           B.      Award to Agri Beef of reasonable attorney’s fees and costs involved in suing Corra.



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        C.       Such other and further relief as the Court deems necessary, just, and proper.


        DATED: February 24, 2020

                                           HOLLAND & HART LLP



                                           By: /s/ Jason E. Prince
                                               Jason E. Prince
                                               Christopher C. McCurdy

                                                Attorneys for Agri Beef Co.
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